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Attorney for Plaintiff

                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MONTANA
                             BILLINGS DIVISION
STEVE SMITH,
                                         Case No.
                    Plaintiff,

             vs.

PFIZER, INC., PHARMACIA LLC              COMPLAINT AND JURY
f/k/a PHARMACIA CORPORATION,             DEMAND
PARKE, DAVIS & COMPANY LLC
as successor-in-interest of PARKE,
DAVIS & COMPANY, AND
WARNER-LAMBERT COMPANY
LLC f/k/a WARNER-LAMBERT
COMPANY,
                    Defendants.

                         PLAINTIFF’S ORIGINAL COMPLAINT

      Plaintiff Steve Smith (“Steve” or “Plaintiff”) files his Original Complaint

against Defendants Pfizer, Inc. (“Pfizer”), Pharmacia LLC f/k/a Pharmacia

Corporation (“Pharmacia”), Parke, Davis & Company LLC as successor-in-interest

of Parke, Davis & Company (“Parke Davis”), and Warner-Lambert Company LLC




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f/k/a    Warner-Lambert      Company     (“Warner      Lambert”     and    collectively,

“Defendants”).

                        I.       NATURE OF THE ACTION

        This is a product liability action to recover damages for catastrophic and

irreparable injuries.   Following his ingestion of Defendants’ blockbuster anti-

epileptic drug, Dilantin, Steve suffered a severe and permanent cerebellar atrophy

reaction that rendered him permanently dependent on caregivers for the remainder

of his life. Plaintiff’s cerebellar atrophy reaction was the direct and proximate result

of Defendants’ wrongful conduct in connection with the design, manufacture,

labeling, sale, testing, marketing, advertising, promotion, and/or distribution of

Dilantin.

                                   II.   PARTIES

        1.    Plaintiff Steve Smith is a citizen and resident of Billings, Montana.

        2.    Defendant Pfizer is a Delaware corporation with its principal place of

business at 235 East 42nd Street, New York, New York 10017. For purposes of

diversity, Pfizer is a citizen of New York.

        3.    Defendant Pharmacia LLC (f/k/a Pharmacia Corporation) is a Delaware

limited liability company whose sole member is Wyeth Holdings LLC, whose sole

member is Anacor Pharmaceuticals, Inc., a Delaware corporation with its principal




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place of business in New York. Accordingly, Pharmacia LLC is a citizen of

Delaware and New York for the purposes of diversity jurisdiction.

      4.     Defendant Parke, Davis & Company LLC as successor-in-interest of

Parke, Davis & Company is a Michigan limited liability company whose sole

member is Pfizer International LLC, whose sole member is Pfizer Inc. As set forth

above, Pfizer Inc. is a Delaware corporation with its principal place of business in

New York. Accordingly, Parke, Davis & Company LLC is a citizen of Delaware and

New York for the purposes of diversity jurisdiction.

      5.     Defendant Warner-Lambert Company LLC (f/k/a Warner-Lambert

Company) is a Delaware limited liability company whose sole member is Pfizer Inc.,

a Delaware corporation with its principal place of business in New York.

Accordingly, Warner-Lambert Company LLC is a citizen of Delaware and New

York for the purposes of diversity jurisdiction.

                       III.   JURISDICTION AND VENUE

      6.     This Court has subject matter jurisdiction over this lawsuit pursuant to

28 U.S.C. §1332 because there is diversity of citizenship between the parties and the

amount in controversy exceeds $75,000, exclusive of interest and costs. The Court

has jurisdiction over Defendants because they engaged in business in this judicial

district in connection with the transactions and occurrences giving rise to this action,

and because the wrongful conduct challenged herein was directed at, took place in,



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and/or had foreseeable injurious effects in this judicial district and the State of

Montana. The Court also has exercise jurisdiction over Defendants because they

have sufficient minimum contacts in Montana and intentionally avail themselves of

the markets within Montana through the promotion, sale, marketing, and distribution

of their products in Montana, thus rendering the exercise of jurisdiction by this Court

proper and necessary.         Each Defendant is licensed to conduct and/or is

systematically and continuously conducting business in the State of Montana,

including, but not limited to, marketing, advertising, selling, and distributing drugs

including Dilantin to residents of Montana. Defendants have continuously and

systematically engaged in business in this judicial district and the State of Montana

such that they have subjected themselves to personal jurisdiction in this Court for all

purposes.

       7.     Venue is proper in this judicial district pursuant to (i) 28 U.S.C.

§1391(b)(2), because a substantial part of the events or omissions giving rise to the

claim occurred in this judicial district; and (ii) because Defendants regularly and

systematically conduct business in this judicial district including, without limitation,

the transactions at issue in this action. Venue is also proper in this judicial district

pursuant to 28 U.S.C. §1391(a)(2) because Plaintiff’s claims arose from events

taking place within this judicial district and Plaintiff resides in this district




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                              IV.      FACTUAL BACKGROUND

A.      Overview of the Case

        8.       Dilantin (phenytoin) is an anti-seizure medication that has been

designed, developed, manufactured, advertised, and distributed by Defendants

and/or their predecessors since 1939. Since that time, the global epilepsy market has

emerged as a multi-billion-dollar enterprise for pharmaceutical companies. In the

last few years alone, Defendants have reaped hundreds of millions of dollars in sales

from their blockbuster drug.                Across the decades following product launch,

Defendants have sold billions of dollars of Dilantin throughout the world. 1

        9.       Cerebellar atrophy is an undeniably severe and permanent side effect

of Dilantin. It is the process in which neurons in the cerebellum – the area of the

brain that controls coordination, balance, speech, cognition and emotions –

deteriorate and die leading to shrinking of the cerebellum and, subsequently, to

irreversible and catastrophic balance, speech, memory deficits and potential death.

Despite substantial scientific literature, Defendants’ own internal adverse event

reports, and glaring safety signals clearly identifying Dilantin as a primary cause of

cerebellar atrophy, Defendants chose not to include any reference to cerebellar

atrophy in its U.S. Dilantin label until December 2015. Defendants did not change



1
  From 1939 through 1976, Defendants retained 95% of the market share of epilepsy drugs sold in the U.S. From
1976 through 1999, Dilantin Kapseals was the only drug approved by the FDA as extended release phenytoin sodium
capsules.


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their Dilantin label on their own initiative or as a result of their own (deficient)

internal product safety surveillance protocols. Instead, Defendants only added the

reference in the label to cerebellar atrophy after Plaintiff’s counsel in this case

brought claims against Defendants on behalf of numerous other individuals who

were similarly catastrophically injured.

      10.      Defendants are required to conduct adequate post approval safety

surveillance for all of their drugs, including Dilantin, by collecting and evaluating

aggregated safety data and scientific literature relating to the adverse effects of those

drug products. Defendants are required by law to analyze and determine whether

safety signals exist; to report those safety findings to the FDA; to continuously revise

or update their product labels; and to provide an identification of the current risks

associated with Dilantin in order to allow for the safe and effective use of the

product, including warning for the risk of cerebellar atrophy and its related

conditions. Defendants did none of these things. Instead, by way of limited

example, discovery in related cases has revealed the following:

            • Defendants have known that Dilantin causes cerebellar atrophy for
              decades, but did not change their U.S. label until December 2015 and
              only did so after Plaintiffs’ counsel in this case brought legal claims
              against Defendants on behalf of other individuals with Dilantin-induced
              cerebellar atrophy;

            • Defendants changed their Dilantin product labels in foreign countries
              (including Switzerland, Sweden, Germany, Australia, New Zealand
              and others) to warn of cerebellar atrophy decades before changing the
              U.S. Dilantin label;

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          • In foreign countries, Defendants directly warn patients and consumers
            of the risk of cerebellar atrophy from Dilantin, but do not do so in the
            United States – even today;

          • Although Defendants have been involved in Dilantin cerebellar atrophy
            litigation in the past, Defendants failed to disclose those cases to the
            FDA or warn U.S. physicians of the risk of cerebellar atrophy from
            Dilantin despite Defendants’ actual knowledge of the risk of harm;

          • For nearly 70 years, Defendants ignored and failed to report scientific
            literature to the FDA that revealed the causal link between Dilantin and
            cerebellar atrophy;

          • In at least 2001, 2003, 2008 and 2013, Pfizer studied but did not report
            to the FDA the risk of cerebellar atrophy from Dilantin;

          • Defendants have never performed adequate safety signal detection or
            other pharmacovigilance activities for Dilantin and cerebellar atrophy;

          • Defendants have not followed their own internal Standard Operating
            Procedures, which require Defendants to study the Dilantin safety
            literature every month and conduct safety signal analysis on Dilantin
            for cerebellar atrophy on a bi-annual basis;

          • Defendants ignored substantial safety signals for Dilantin and
            cerebellar atrophy at multiple points in Dilantin’s marketing history,
            including in 2008 when Defendants performed a safety signal analysis
            for cerebellar atrophy and disregarded the results even though
            Defendants’ safety signal report reflected a clear signal and substantial
            safety concerns relating to cerebellar atrophy;

          • The safety concerns with Dilantin were so significant that they
            escalated to the very top of the company – specifically, in 2008 and
            other years Pfizer’s at-the-time Chief Executive Officer (Jeffrey
            Kindler) requested and was receiving safety briefing on Dilantin.
            Despite management awareness at the highest level, Defendants failed
            to take appropriate steps to address the risk-benefit profile of Dilantin



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             or warn U.S. prescribing physicians or consumers of the serious risks
             associated with the drug;

          • Pfizer triaged Dilantin (and its other off-patent and therefore less
            profitable drugs) into a Pfizer-created safety system that relegates off-
            patent products to de minimus safety oversight in order to reduce the
            costs associated with and personnel assigned to safety oversight of
            those off-patent products. The end result of this cost-savings exercise
            is substantial risk to public health because safety signals are missed and
            never evaluated as the Pfizer Safety Risk Leads responsible for off-
            patent drugs lack the resources to adequately manage the volume of
            drugs that are assigned to them. Pfizer has the financial resources to
            adequately monitor safety for all of its products, including its less
            profitable off-patent products like Dilantin. While the cost-savings
            system implemented by Pfizer may result in higher profits, it is not
            reasonable pharmacovigilance for the largest drug company in the
            world;

          • Despite frequent overturn of Safety Risk Leads, Pfizer has never
            implemented a safety system that educates successor Safety Risk Leads
            for a drug product (including Dilantin) on the historical safety concerns
            with that product. In fact, Pfizer does not even know who was
            responsible for Dilantin safety when Parke Davis owned the drug, at
            the time Pfizer bought Parke Davis/Warner Lambert and Dilantin in
            2000, or the identities of the Safety Risk Leads responsible for Dilantin
            for years after that purchase;

          • Shortly after Plaintiffs’ counsel in this case brought claims against
            Defendants for Dilantin-induced cerebellar atrophy, Defendants’
            marketing team was instructed to stop detailing (the process by which
            Defendants’ sales representatives provide information directly to
            doctors on the risk-benefit profile of a drug) prescribing physicians on
            Dilantin, but were advised to leave Dilantin Savings Cards with
            prescribers in a calculated effort to yield more sales of the drug without
            disclosing its risks;

          • When Defendants changed their Dilantin labels in foreign countries to
            warn of the risk of cerebellar atrophy from Dilantin, Defendants
            disclosed different and additional safety information to those foreign


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               regulatory authorities than Defendants provided to the FDA when
               Defendants changed their U.S. Dilantin label to reference cerebellar
               atrophy in December 2015;

            • Although Defendants have been cited by the FDA for failing to report
              serious adverse events, Defendants vastly underreported and knowingly
              soft coded Dilantin cerebellar atrophy adverse events as less severe
              adverse reactions. Defendants also directly misrepresented the total
              number of Dilantin cerebellar atrophy adverse events to the FDA when
              Defendants submitted their Dilantin cerebellar atrophy Clinical
              Overview to the FDA in October 2015; and

            • Even though Dilantin and Defendants were subject to a Consent Decree
              and Corporate Integrity Agreement with the United States Department
              of Justice and the FDA, Defendants failed to comply with their federal
              law requirement to report cases of cerebellar atrophy to the FDA for
              decades.

      11.      Defendants’ failure to study and report the scientific literature is also

significant. The scientific literature and reports of Dilantin-induced cerebellar

atrophy date back more than 70 years. The scientific studies and peer reviewed

literature positively identifying a direct causal link and/or association between

Dilantin and cerebellar atrophy number well over 100 readily available papers, all

which Defendants knew or, at a minimum, should have known about, and should

have but did not disclose to the FDA and U.S. healthcare providers.

      12.      Further, despite hundreds of reports of cerebellar atrophy, gait

disturbances,     ataxia   and   neurological    adverse    events   associated    with

Dilantin/phenytoin products, no safety information has been included in the Dilantin

labeling to reflect the increased risks to subpopulations, the unique risk factors, the


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duration of therapy, or pharmacogenetics on the safety of the post-marketing

experience with these catastrophic and disabling injuries.

      13.    Indeed, despite the significant volume of safety information

establishing the known risks of an adverse reaction as severe and permanent as

cerebellar atrophy, Defendants’ United States Dilantin label remained entirely silent

about these risks for decades. To this day, Defendants still fail to provide sufficient

information regarding the risks of cerebellar atrophy to United States physicians and

consumers of Dilantin.

B.    The Plaintiff

      14.    Steve Smith is a 63-year-old man who resides in Billings, Montana with

his spouse. As a direct result of his ingestion of Dilantin, Mr. Smith developed and

was diagnosed with irreversible cerebellar atrophy.

C.    Mechanism of Injury

      15.    Cerebellar atrophy is a devastating disease that impacts motor function,

coordination, memory and ability to speak. It is a process in which neurons (nerve

cells) in the cerebellum - the area of the brain that controls coordination and balance

- deteriorate and die. The most characteristic symptom of cerebellar atrophy is a

wide-based, unsteady, lurching walk, often accompanied by a back and forth tremor

in the trunk of the body. Other symptoms include difficulty speaking and

swallowing; slow, unsteady and jerky movement of the arms or legs; slowed and



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slurred speech, and nystagmus. There is no cure for Dilantin-induced cerebellar

atrophy.

      16.    Dilantin (phenytoin) causes cerebellar atrophy. In particular, Dilantin

causes pathologic alterations, loss of Purkinje cells, Bergmann gliosis, and granule

cell damage with shrinkage of cerebellar white matter through the secondary

degeneration of axons. Dilantin decreases glutamic acid and increases

gammaaminobutyric acid (GABA) concentration in the brain. GABA is a major

neurotransmitter in the cerebellum and is the pathway through which Dilantin

controls the spread of seizures.

      17.    Repeated doses of Dilantin at pathologic levels can overstimulate

Purkinje cells, resulting in their death. Dilantin-related damage of Purkinje cell

axons is initiated by an intrinsic ability of these neurons to induce microsomal

enzymes with proliferation of the smooth endoplasmic reticulum (SER).

      18.    Dilantin has a propensity for the cerebellum. The specific binding site

for phenytoin is in the vicinity of Purkinje cells and granule cells. Phenytoin induces

increased firing rates in cerebellar neurons. The increased neuronal activity is

harmful to cerebellar neurons. The neural target cells are stimulated by DPH to

synthesize, at high rates, components of the cytochrome P-450 containing enzyme

system. This inducibility and resulting overexpression of a cytochrome P-450




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fraction correlate with the enlargement of SER compartments in cerebellar neurons

during the course of phenytoin treatment.

      19.    The accumulation of vesicles and tubules in the distal regions of

Purkinje cell axons leads to their local dilatation and can cause disturbances of

synaptic transmission to cerebellar neurons. The selective vulnerability of cerebellar

neurons to phenytoin documented by structural, functional and biochemical changes

is the cause of severe motor disturbance and ataxia.

      20.    These pathophysiological mechanisms have been well-documented in

the scientific literature and have been corroborated in human autopsy studies in

patients with Dilantin-induced cerebellar atrophy.

      21.     The schematics below show the anatomy of the cerebellum and the

cerebellar circuitry that is impacted by cerebellar atrophy:




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      22.      The effects of cerebellar atrophy include, but are not limited to, the

following:

      • Gait/balance/walking/posture       abnormalities:   Difficulty   maintaining

            normal upright posture, balance, coordinated walking, and running.

            Unsteady gait, staggering, tripping, falling, unsteadiness on stairs or

            maintaining balance.

      • Fine motor incoordination: Difficulty with handwriting, cutting food,

            opening jars, buttoning clothes, sewing, typing, playing an instrument or

            sport.




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      • Speech and swallowing difficulties: Slurred, slow, indistinct speech,

          abnormal in rhythm. Difficulty swallowing or choking (dysarthria and

          dysphagia).

      • Visual abnormalities: Blurred vision or double vision. Difficulty moving

          from word to word. Problems following moving objects or shifting gaze

          from one object to another.

      • Increased fatigue: Unexpected fatigue when performing normal activities

          due in part to the need to expend more effort to perform activities that are

          no longer fluid or coordinated.        Patients often report needing to

          “concentrate on” their movements.

      • Cognitive and mood problems: Cognitive and emotional difficulties. The

          cerebellum plays a role in some forms of thinking. Patients with cerebellar

          atrophy may experience impaired recall of new information or difficulty

          with “executive functions” such as making plans and keeping thoughts in

          proper sequence. Personality and mood disorders, such as increased

          irritability, anxiety, and depression are more common in persons with

          cerebellar atrophy.

The devastating symptoms of cerebellar atrophy are permanent.




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D.    Defendants Have Known That Dilantin Causes Cerebellar Atrophy for

      Over 70 Years

      23.    For over 70 years, Defendants have known there is a causal relationship

between Dilantin exposure and cerebellar atrophy. Despite Defendants’ safety

signal analysis on the risk of cerebellar atrophy, scientific literature, and adverse

event reports, Defendants’ Dilantin label did not mention the reaction – even once –

until December 2015.

      24.    The scientific literature and studies establishing Dilantin as a cause of

cerebellar atrophy include:

            1940   Williamson               1988   Botez et al.
            1942   Finkelman                1989   Keier and Volk, et al.
            1954   Livingston               1991   Abe, et al.
            1958   Utterback, et al.        1994   Ney, et al.
            1958   Hofmann                  1994   Leuf et al.
            1965   Kokenge                  1998   Volk, et al.
            1966   Dam                      1998   Iivainen
            1969   Logan and Freeman        1998   Pulliainen et al.
            1974   Iivainen et al.          2000   Del Negro, et al.
            1976   Ghatak et al.            2001   Tan, et al.
            1977   Rappaport and Shaw       2003   De Marco, et al.
            1977   Iivainen et al.          2004   Koller, et al.
            1978   Heim, et al.             2011   Scorza, et al.
            1980   McCain, et al.           2011   Scorza, et al.
            1984   Lindvall, et al.         2013   Twardowschy, et al.
            1984   Baier et al.             2013   Sharma, et al.
            1988   Volk, et al.             2013   Gupta, et .
                                            2013   Shukla




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      25.    In addition to the articles cited above, four different case-control and a

case-cohort study confirmed the causal relationship between Dilantin and cerebellar

atrophy. The pertinent findings from these case-controlled studies are summarized

below.




      26.    In addition to the severe and permanent effects of cerebellar atrophy

described above, the scientific literature attributes dozens of deaths to

Dilantin/phenytoin-induced cerebellar atrophy. Even today, the Dilantin label does

not warn of the risk of death from Dilantin-induced cerebellar atrophy.




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E.    Time to Onset of Cerebellar Atrophy from Dilantin Exposure

      27.    Numerous scientific studies have shown that the time to onset for the

development of permanent, irreversible cerebellar degeneration and cerebellar

atrophy can occur within one day to years after exposure to Dilantin.

      28.    Defendants have known for decades that chronic, long term therapy

with Dilantin increases the risks of cerebellar degeneration and atrophy in people of

all ages. Extensive human and animal studies also establish short term exposure to

normal or high doses of Dilantin can cause permanent, irreversible cerebellar

degeneration and atrophy. Despite their longstanding awareness of these risks,

Defendants have never warned of the risk of cerebellar atrophy from short-term or

long-term Dilantin exposure.

      29.     HUMAN EXPOSURE STUDIES

     PAPER/YE         TIME TO ONSET           PATHOLOGICAL/             AGE/SE
        AR                                                                X
                       CEREBELLAR             RADIOGRAPHIC
                      DAMAGE/ATROP              EVIDENCE
                             PY
     1957-              3-4 weeks of         Clinical evidence            N/A
     Utterback,          exposure to
     RA-                                                                Seizure
                     therapeutic range of                               patient
     Parenchyma             PHT
     tous
     Cerebellar
     degeneration
     Complicatin
     g Dilantin
     Therapy”
     1958-            16 days of exposure    Post-mortem exam            28/F
     Hoffman,          to Dilantin/Died      showed exclusive           seizure
     WH-                                     pathological evidence      patient
                                             of cerebellar


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    “Cerebellar       exposure to         degeneration, and
    Lesions after                         ruled out other causes
    parenteral    therapeutic range of
    administrati         PHT
    on”
    1977-         30 days exposure to     PEG measurement of        Mean
    Iivanainen,                                                    age was
    et al.        therapeutic range of    4th ventricle              16.3
                         PHT                                        years
    Cerebellar
    Atrophy in                                                     (mentall
    Phenytoin-                                                         y
    Treated                                                        disabled
    Mentally                                                       patients)
    Disabled
    Patients
    (See also
    Iivanainen-
    1983
    confirming
    short term
    onset)
    1977-            6 weeks exposure to Postmortem                  47/F
    Rappaport                             pathological
    & Shaw           therapeutic range of examination of           With no
                            PHT           cerebellum confirmed      seizure
    “Phenytoin-                           cerebellar               disorder
    Related                               degeneration/atrophy
    Cerebellar
    degeneration
    without
    seizures”
    1984-        30 days exposure to      CT scans.                  25/m
    Lindvall, et                                                   with no
    al.          therapeutic range of     “In our opinion the       seizure
                        PHT               protracted cerebellar    disorder
    Cerebellar                            dysfunction and the
    Atrophy                               cerebellar atrophy
    following                             demonstrated by CT
    Phenytoin                             Scans were closely
    Intoxication                          related to short-tern
                                          phenytoin
                                          intoxication.”
    1988-Botez,      30 days exposure to CT scan confirming          N/A/
    et al.                                cerebellar atrophy
                     therapeutic range of within 1 month of
    “Cerebellar             PHT           starting Dilantin
    Atrophy in
    Epileptic
    Patients”



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    1990-Masur,         1 day Overdose        CT/MRI showed            N/A
    et al.                                    cerebellar atrophy
                       In Patient with no     findings similar to
    “Cerebellar             seizures          those findings of
    Atrophy                                   patients with chronic
    following                                 exposure to PHT,
    Acute                                     which means that
    intoxication                              acute exposure can
    with                                      cause CA
    Phenytoin”
    1992-                  4-7 weeks          CT scans showed          39/M
    Imamura, et          progressively        cerebellar atrophy
    al.                  developed on         after starting PHT for
                      therapeutic doses of    several weeks and CT
    “Cerebellar              PHT              performed before
    atrophy and                               showed no cerebellar
    persistent                                atrophy
    ataxia
    following
    acute
    intoxication
    of
    phenytoin”
    1997-            Took twice the dose      MRI showed               38/M
    Kuruvilla, et     prescribed for 2-3      cerebellar atrophy
    al.              weeks at 600 mg per      upon admission and
                             day              other causes were
    “Cerebellar                               ruled out
    Atrophy
    After Acute
    Phenytoin
    Intoxication
    ”
    1998-                 Randomized          CT scan showed           17/F
    Pulliainen, et      controlled trial of   severe cerebellar
    al.                patient who had 90     atrophy in a patient
                         day exposure to      with prior CT scan
    “A case of        therapeutic doses of    that was normal just
    Cerebellar                PHT             prior to starting PHT
    Atrophy
    after
    Phenytoin
    Intoxication,
    Neurologic,
    Neuroradiol
    ogic, and
    Neuropsycho
    logical
    Findings”
    1999-Awada,       10 day exposure to      CT/MRI showed mild       30/M
    et al.            high doses of PHT       cerebellar atrophy



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     “Residual
     cerebellar
     ataxia
     following
     acute
     phenytoin
     intoxication”

F.     At-Risk Subpopulations

       30.      Defendants have also known that certain subpopulations are

particularly at risk for the development of cerebellar atrophy. These uniquely at-risk

subpopulations include:

       • pediatric population;

       • people with intellectual disabilities and people with pre-existing brain

             injuries;

       • pregnant women and infants;

       • poor metabolizers;

       • females; and

       • the elderly population.

     1. Pediatric Population, the Intellectually Disabled, and Persons with Pre-
        Existing Brain Injuries are at Increased Risk
       31.      Defendants have known that children, the intellectually disabled, and

individuals with pre-existing brain injuries are at an increased risk of cerebellar

atrophy from Dilantin.       More than 20 scientific articles have been published

establishing the increased risk of cerebellar atrophy to these subpopulations from



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Dilantin. Despite this extensive literature, Defendants’ Dilantin label did not

reference cerebellar atrophy until December 2015.           Even today, Defendants’

Dilantin label – which first mentioned cerebellar atrophy less than two years ago –

does not reference an increased risk to any subpopulation, including children, the

intellectually disabled, or individuals with pre-existing brain injuries.

    2. Poor Metabolizers of Dilantin and the Extended Half Life of the Drug

      32.    Phenytoin has a narrow therapeutic window. As a result, a fine balance

must be struck between efficacy and dose-related side effects. Any factor which

changes the protein binding of phenytoin can alter phenytoin levels, resulting in

significant neurotoxicity, including cerebellar degeneration and cerebellar atrophy.

      33.    Phenytoin demonstrates non-linear pharmacokinetics even within the

therapeutic range. Specifically, the enzyme system involved in phenytoin

metabolism gradually becomes saturated, resulting in a decrease in the rate of

elimination of phenytoin as the dose is increased. This means that once the enzyme

system becomes saturated with phenytoin, even a small change in the dose of

phenytoin can lead to a large change in phenytoin levels and significant toxicity.

      34.    Further, phenytoin concentrations leading to enzyme saturation vary

considerably between individuals. Thus, patients taking the same dosage can have

up to a 50-fold difference in plasma phenytoin concentration (inter-individual




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variability). For these reasons, monitoring of phenytoin levels should be required to

ensure therapeutic efficacy in every individual patient.

      35.    The long half-life of phenytoin also increases the risks of serious

adverse effects, including cerebellar atrophy. The prescribing information for

Dilantin or Epanutin (its E.U. equivalent) reports that the drug’s half-life can range

from 11-146 hours, with a typical half-life of 20-60 hours. Half-lives of Dilantin

can be prolonged with small dosages due to the saturation kinetics and resultant drug

accumulation with reported half-lives of up to 500 hours.

      36.    Certain racial populations, including Caucasians and African

Americans can possess a genetic predisposition that can render them unable to safely

metabolize Dilantin. This genetic predisposition can lead to Dilantin toxicity even

under normal dosing.      Studies have shown that genetic testing can eliminate or

reduce the potential for irreversible cerebellar atrophy. In order to prevent and

monitor the elevated risk of cerebellar atrophy in poor metabolizers and other at-risk

subpopulations, genetic testing should be performed prior to initiating therapy with

phenytoin in epileptic patients.

    3. Pregnant Women and Infants are at Increased Risk

      37.    Defendants have known about the heightened risk of Dilantin-induced

cerebellar atrophy and cerebellar degeneration to unborn fetuses and infants. By

1980, scientists reported an increased risk of cerebellar atrophy in fetuses or infants



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from mothers who took Dilantin during their pregnancies.2                               The validity of the

causal connection is further evidenced through animal studies reflecting that

phenytoin causes brain damage when administered early in development in

laboratory animals.3

        38.      Despite their awareness of Dilantin’s propensity to cause permanent

life-long cerebellar injuries and even death to infants, the Dilantin label does not

warn of the potential of injury and cerebellar atrophy in fetuses or warn that the drug

should not be used when pregnant due to the risk of cerebellar atrophy.

     4. Females are at Increased Risk

        39.      Defendants knew that females are at higher risk of cerebellar atrophy

and to an increased susceptibility in females to Dilantin neurotoxicity, including

cerebellar atrophy and peripheral neuropathy.

        40.      Defendants’ Dilantin label to this day does not warn of the increased

risk of cerebellar atrophy to females.

     5. The Elderly are at Increased Risk

        41.      Defendants also knew the elderly population is also at an increased risk

of cerebellar atrophy and related injuries from Dilantin.

2
  Mallow, et al. Arch Pathol Lab Med 104:215-218, 1980) (Gadisseux JF, “Pontoneocerebellar hypoplasia--a probable
consequence of prenatal destruction of the pontine nuclei and a possible role of phenytoin intoxication,” Clin
Neuropathol. 1984 Jul-Aug; 3(4):160-7.
3
  Gestational exposure of PHT in rats can reduce whole brain weight (Tachniba, et al. 1996), delay maturation of
reflexes (Dam 1972), and alter postnatal behaviors such as increased spontaneous locomotion Pizzi, et al. 1992), as
well as learning impairments (Vorhees et al. 1987 and Adams, et al. 1990). (Hatta, et al., “Neurotoxic Effects
of Phenytoin on Postnatal Mouse Brain Development Following Neonatal Administration,” Neurotoxicology and
Teratology, Vol. 21, No. 1, pp. 21–28, 1999).


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      42.     Despite the elevated risk to these subpopulations, Defendants have not

provided this safety information to the FDA, physicians or patients or revised their

label to warn of the increased risk of cerebellar atrophy to the elderly.

G.   Folate Supplementation as an Available (But Undisclosed) Potential
     Treatment for Certain Patients with Cerebellar Atrophy

      43.    Folate are forms of folic acid and B vitamins. Long-term phenytoin

therapy can depress folate levels in serum, red blood cell, or cerebrospinal levels in

a high proportion of patients. Phenytoin has also been shown to interfere with folate

transport into the nervous system. Reduction in folate can increase the neurotoxicity

from phenytoin and plays a role in the development of cerebellar ataxia and

cerebellar atrophy.

      44.    Although folate therapy has emerged as a potential treatment for some

patients with cerebellar atrophy, Defendants have not provided recommendations,

directions for use, or warnings regarding the effects of reduced folate in phenytoin

users to physicians or consumers.

      45.     Further, even though Defendants recommend the use of folate therapy

for phenytoin patients who develop anemia, Defendants’ label and safety

communications do not propose the use of folate supplementation to prevent or treat

cerebellar degeneration or cerebellar atrophy.




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H.    Defendants Tested Chantix as a Treatment for Cerebellar Atrophy

      46.    Defendants developed and marketed Chantix as a smoking cessation

drug. Chantix was approved by the FDA on May 10, 2006, and by 2008 sales had

reached nearly $900 million. In addition to marketing Chantix as a drug that reduces

the urge to smoke, Defendants sponsored patents and several studies aimed at

marketing (and profiting from) Chantix as an effective treatment for Dilantin-

induced cerebellar ataxia.

      47.    Defendants’ patent studies, patent applications, and analysis of the

potential for off-label marketing of Chantix to treat cerebellar atrophy and its

sequelae not only evidence Defendants’ keen awareness of the risk of cerebellar

atrophy from Dilantin, but also show that Defendants intend to profit from the

treatment of cerebellar atrophy caused by their other drug, Dilantin.

I.    Dilantin Lacks Efficacy

      48.    Dilantin has an extended regulatory history spanning nearly 80 years.

Dilantin has been marketed in the United States since 1939 for the control of status

epilepticus for grand mal seizures and the prevention and treatment of seizures

during neurosurgery. Dilantin, however, was not approved by the FDA under the

1962 FDCA amendments that require proof of safety and efficacy based on two well-

designed and controlled clinical trials. Instead, in 1970, the FDA issued a Drug

Efficacy Study Implementation (DESI) notice informing phenytoin manufacturers



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that several different indications lacked efficacy and safety. At that time, the FDA

announced that Parke Davis would be required to submit an NDA or SNDA to

continue to market certain forms of Dilantin. A few forms of Dilantin were approved

through the DESI process in 1970, including NDA 10-151 and NDA 8-762.

      49.    In 1976, the FDA issued an additional DESI notice that notified all

phenytoin makers that the FDA considered phenytoin to be a new molecular entity

that would require an NDA for all types of non-controlled release oral forms of

phenytoin subject to the requirements of Section 505. Within the same DESI notice,

the FDA notified manufacturers of all other forms of Dilantin, including

combination products, that it would require an ANDA in order to continue marketing

the product in the United States.

      50.    For the ANDA to be approved, all sponsors (including Parke Davis),

were only required to show that the drug was bioequivalent to their reference

standard for phenytoin dissolution and pharmacokinetics. As a result, Parke Davis

has never conducted the full-scale clinical trials that it should have conducted to

prove the efficacy and safety of Dilantin.

      51.    Thus, Parke Davis’ ANDA 84-349 for Dilantin Kapseals, 30 and 100

mg. was approved in 1976, not based on two well-controlled trials that established

safety and efficacy, but by merely showing that the product was bioequivalent to one

of their own drugs, Dilantin.



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        52.   Clinical and scientific evidence has revealed testing mechanisms that

allow for the safer use of Dilantin. Specifically, genetic phenotyping or screening

and detection of poor metabolizers are now readily-available safety options.

Defendants, however, have never recommended genetic testing for at-risk

subpopulations or U.S. consumers.

        53.   Since the introduction of Dilantin in 1939, the FDA has approved over

30 AEDs. The schematic below identifies the various anti-epileptic drugs approved

and the length of time that they have been available to prescribing physicians in the

U.S.:




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      54.    Since Dilantin (a first-generation AED), came on the market in 1939,

numerous other safer alternative AEDs have emerged. Several leading neurology

expert panels in the U.S. and around the world have evaluated the risks and benefits

of Dilantin and determined that it should not be used as a first line agent to treat

seizure disorders.

      55.    The International League Against Epilepsy (ILAE) is the world’s

preeminent scientific body devoted to the study of epilepsy. In 2005, experts

retained by the ILAE analyzed the scientific data for efficacy of AEDs. Following


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this review, the ILAE concluded that i) no randomized controlled clinical trials

existed to establish the efficacy of phenytoin to treat seizure disorders, and ii) it

would not recommend phenytoin as a first-line treatment for seizures.

        56.      The National Institute for Health and Care Excellence (NICE) is the

independent organization based in the United Kingdom responsible for providing

evidence-based guidance on health care. Based on its review of randomized clinical

trials and meta-analyses of published papers, NICE also does not recommend

phenytoin as a first-line drug for any seizure type or epilepsy syndrome. 4

        57.      In December 2016, Pfizer and its U.K. affiliate, Flynn Pharma Ltd.,

were fined $106 million by the U.K.’s Competition and Markets Authority for

abusing their dominant market position in the U.K. through charging unfair prices

for Epanutin, a generic version of Dilantin. As a part of its investigation, the

Competition and Markets Authority produced a 500+ page memorandum decision.

In addition to detailing the unlawful 2,600% price hike that Pfizer and Flynn

implemented for Epanutin, the decision commented on the efficacy of

Dilantin/Epanutin as follows:

        3.43 Phenytoin sodium has been superseded by a number of newer

        medicines with improved efficacy, fewer side effects and/or better



4
  NICE Clinical Guideline, “Epilepsies: diagnosis and management,” (2004); and Brostoff, et al. “Phenytoin toxicity:
an easily missed cause of cerebellar syndrome,” J Clin Pharm and Therap. (2008); 33:211-214; NICE Clinical
Guideline, “Epilepsies: diagnosis and management,” (2012).


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      safety profiles. This has meant that older drugs like phenytoin sodium

      are not the first – or second – choice treatment for epilepsy. As a result,

      in any given period, very few patients are newly prescribed phenytoin

      sodium capsules.

      58.    The bottom line is that Defendants’ drug lacks efficacy and, particularly

given its many serious side effects, should be restricted or taken off of the market.

Indeed, even Defendants’ own neurology experts concede that Dilantin should not

be recommended as a first line therapy for many seizure disorders due to the

availability of safer and more effective alternatives.

J.    Defendants’ Deceptive Marketing Strategies

      59.    Defendants have aggressively marketed Dilantin for decades and made

billions of dollars as a result. To reap these profits, Defendants have distributed

thousands of books, bulletins, and brochures across the U.S. that falsely promoted

Dilantin as safe and effective in the treatment of all types of seizures. Defendants

did not disclose any safety information regarding the risks of cerebellar atrophy in

any of these publications.

      60.     For 80 years, Defendants’ Dilantin advertisements have targeted the

poor, intellectually challenged, children, and adults by promoting Dilantin as a life-

changing super drug that could improve the quality of their lives by controlling

seizures. At the same time, however, Defendants knew that these subpopulations



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were at increased risks of cerebellar atrophy, yet failed to warn them of those

heightened risks, choosing instead to represent that Dilantin was safe to use when

they knew that it was not.

      61.    In 1982, Parke Davis targeted a national marketing campaign at the

elderly, introducing a Parke Davis program called Elder-Care to encourage older

patients to ask health care practitioners for help in managing their medications.

Components of the program, which was distributed to pharmacists in every state in

the U.S., included the Elder-Care symbol and patient information booklets entitled

“As We Grow Older.”

      62.    Another brochure developed by Parke Davis in 1983 was entitled “How

to Select Your Pharmacy and Pharmacies,” which collected prescribing and use

information from elderly patients. Nowhere in these publications did Parke Davis

disclose to elderly patients the risk of cerebellar atrophy from Dilantin.

      63.    In 1992, Parke Davis published its Manual on Epilepsy, a marketing

manual disguised as a paperback book on public health educational information.

The book falsely promoted Parke Davis and the safety profile of Dilantin without

disclosing its risk of cerebellar atrophy.

      64.    Parke Davis and Warner Lambert implemented broad strategies for the

marketing of Dilantin from the 1960’s through 2005.           In 1995, Parke Davis

developed its company Epilepsy Business Plan as shown below:



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      65.    Parke Davis used resources from marketing Dilantin from the previous

decades to aid in the development and marketing of Neurontin alongside Dilantin.

The publicly available Parke Davis business plan from 1995 noted Defendants’

intent to identify and target physicians in the U.S. who prescribed the most Dilantin.




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      66.    One of Parke Davis/Warner Lambert’s core strategies was to

“Capitalize on Patients” and “strengthen[] Messages to MDs.”

      67.    To “capitalize on patients,” Defendants used the Epilepsy Care System,

whereby Parke Davis staffed paid patient advocates with the Epilepsy Foundation of

America (EFA).       The EFA was supposed to be an independent non-profit

organization dedicated to assist individuals with epilepsy with drug selection and

healthcare decisions. Far from being independent, Defendants’ paid staffers would

direct patients to receive free Dilantin over epilepsy drugs made by other drug

companies. In addition to marketing their product to unsuspecting consumers,




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during this process Parke Davis did not disclose the risks of cerebellar atrophy to

physician or patients.5

        68.      Also, in 1995, a similar system was developed by Parke Davis as shown

below:




        69.      Defendants have, for many decades, communicated to patients directly

using the EFA and through sponsored physicians in order to fraudulently promote

Dilantin as a safe and effective medicine that would change their lives. In doing so,

Defendants consciously concealed the risks of cerebellar atrophy caused by Dilantin.

The schematic below outlines the mechanics of the Parke Davis business plan for its

Epilepsy Care System:

5
 The EFA was not the only nonprofit foundation Parke Davis cooperated with in an effort to increase Dilantin sales.
The Dreyfus Health Foundation f/k/a the Dreyfus Medical Foundation was another such organization. Through the
Drefus Medical Foundation, Parke Davis explored multiple off-label uses for Dilantin.


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      70.    As indicated in the Parke Davis business plan, the EFA played a large

role in persuading patients to choose Dilantin to treat their seizure disorders. Parke

Davis also used the EFA to collect information about the use of Dilantin products

by these individuals which, in turn, would help Defendants increase sales of the drug.

      71.    Parke Davis developed tactical planning strategies to implement

various marketing instruments promoting Dilantin. For example, and without ever

mentioning the risk of cerebellar atrophy, Parke Davis promoted Dilantin using

reprints of articles that reported favorable use of Dilantin; medical anatomical

references; neurology residents training kits; Merritt-Putnam pads; patient


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information sheets; and flash cards attacking competitor drugs, including Tegretol.

Parke Davis also developed several series of videos to use with patients, including

“Under Complex Partial Seizures,” or “The Rest of the Family”, or “Planning for

Today,” or “1st Aid for Seizures,” and used videos that targeted children with seizures

that promoted Dilantin, including “School Planning for Children,” or “Seizure,

Epilepsy and Your Child.” None of these promotional materials warned of the risk

of cerebellar atrophy.

      72.    Parke Davis paid for and established a national system called the

Epilepsy Awareness and Support Exchange or EASE. The program focused on key

customers that purchased Dilantin in large quantities, such as HMOs and hospitals.

Parke Davis executed the EASE program between 1995-2005 as described below.

      73.    When a physician called the national EFA hotline, they would be

provided with the Parke Davis treatment guidelines and a Living with Epilepsy Kit

for their patients. The Epilepsy Foundation would also provide the physicians and

patients with information directing them to the RESCON patient assistance program,

which was Parke Davis’s third-party vendor that would partner with Parke Davis to

provide Dilantin at a lower cost. The physician would also be provided treatment

guidelines that recommended using Dilantin as the first line agent.

      74.    When a patient called the EFA hotline, they would be screened for

information that Parke Davis desired to collect in order to better-market Dilantin and



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their other AEDs. The patient would receive direct Parke Davis mailings and kits,

which were educational materials disguised to market Dilantin. None of these

marketing materials contained information regarding the risks of cerebellar atrophy.

Below is a diagram of the Parke Davis EASE program:




      75.    Parke Davis Epilepsy Guidelines were also created to ensure priority

use or prescribing of Dilantin as evidenced below:




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      76.    Parke Davis identified several groups of physicians for targeted

marketing. One such group was physicians who frequently prescribed Dilantin,

categorized by the dollar value of Dilantin prescriptions they had the potential to

generate. Another key group was physicians who had the potential to influence

Neurontin or Dilantin use among their colleagues. This included local champions of

the drug, who were recruited and trained to serve as speakers in “peer-to-peer

selling” programs, which were noted to be “one of the most effective ways to

communicate [Parke Davis] message” about Dilantin first, then Neurontin. Parke

Davis also targeted residents who could be used “to influence physicians from the




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bottom up” and “to solidify Parke Davis’ role in the resident’s mind as he/she

evolves into a practicing physician.”

      77.     Educational activities were also used to implement strategic goals.

Teleconferences linking paid physician moderators with small groups of physicians

was another method used to reach prescribers. Although these teleconferences were

titled as educational events, Parke Davis internal memos noted that “the key goal of

the teleconferences was to increase Dilantin and Neurontin new prescriptions by

convincing non-prescribers to begin prescribing and current prescribers to increase

their new prescription behavior.”

      78.     Speakers bureaus and related programs were other physician-to-

physician activities developed by Defendants to promote Dilantin and Neurontin.

Sales employees were encouraged to “expand the speaker base—identify and train

strong Dilantin and Neurontin advocates and users to speak locally for Dilantin

Neurontin”.

      79.     Parke Davis also organized Merritt-Putnam lecture series to improve

“public relations within the neurology community, etc., as well as [to impact] the

volume of Dilantin and Neurontin new prescriptions.” The speakers bureau for this

lecture series included chairs of neurology departments and directors of clinical

programs at major teaching hospitals. Members of the speakers bureau were invited

to special meetings where, in addition to lectures on the clinical use of Dilantin, they



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were updated on promotional strategies for the drug. Parke Davis also created a

National Speaker’s Bureau to falsely promote the safety and efficacy of Dilantin as

evidenced in their business plan.

      80.    Parke Davis sought to provide unrestricted educational grants to locally

organized symposia at which it expected Dilantin or gabapentin to be favorably

discussed. One memo recommended the following: “Assist in the organization of a

[major university hospital’s] pain symposium . . . .We will probably write them an

unrestricted educational grant to help fund the project. In return, they will discuss

the role of Neurontin in neuropathic pain and Dilantin use, among other topics. They

do have a very favorable outlook toward Dilantin and Neurontin.”

      81.    Pfizer acquired Warner-Lambert and its Parke Davis division in 2000

for $91 billion. As a part of the acquisition, Pfizer acquired Warner-Lambert’s

products, including its neurological products such as Dilantin, Cerebyx and

Neurontin. After the purchase, Pfizer continued the Parke Davis business plans

described above.

      82.    In May 2004, as a direct result of the above-described conduct, Warner-

Lambert pled guilty to off label marketing and promotion and agreed to pay over

$430 million to resolve criminal charges and civil liabilities in connection with its

illegal and fraudulent promotion of unapproved uses of Neurontin – the AED

marketed side-by-side with Dilantin.       The settlement agreement included a



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Corporate Integrity Agreement, requiring Pfizer to train and supervise its marketing

and sales staff to protect against future off-label marketing conduct.

K.      Defendants Performed and Ignored Their Own Safety Signal Analysis for
        Dilantin-Induced Cerebellar Atrophy

        83.      In 2009, one of Pfizer’s chief safety signal experts, Manfred Hauben,

M.D., performed a safety signal analysis of the risk of cerebellar atrophy from

Dilantin. 6 That same year, Dr. Hauben and another Pfizer safety signal expert, Dr.

Andrew Bates, published an article describing methods by which drug companies

are able to use their internal safety databases to explore and detect safety signals,

including signals for cerebellar atrophy. Highlights from that article are below:




6
 Hauben and Bates, Decision Support Methods For the Protection of Adverse Events in Post-Marketing Data, Drug
Discovery Today (2009)


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      84.    Dr. Hauben’s analysis prompted Pfizer to change its Dilantin labels to

warn about cerebellar atrophy in foreign countries, but not in the U.S. By at least

2009, Defendants were (i) aware of cerebellar atrophy as an adverse effect of their



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drug, (ii) performed a safety signal analysis, and (iii) knowingly chose not to change

their U.S. label to warn of the risk after the safety signal was detected.

L.    Known and Uncured Manufacturing Defects

      85.    Since 1990, there have been a total of 64 recalls of Warner Lambert

products for manufacturing and other defects. Several of these recalls included

Dilantin products. In 1993, the company agreed to a consent decree that halted the

manufacture of several drugs (including certain Dilantin product) while its

manufacturing processes were changed to comply with law. In 1995, Warner-

Lambert pled guilty to criminal charges and agreed to pay a $10 million fine for

hiding data from the Food and Drug Administration regarding faulty manufacturing

processes used for several of its drugs, including Dilantin. The violations were so

significant that Warner-Lambert’s former vice president for quality control was

indicted on criminal charges alleging that he was involved in an attempt to hide

failures in quality control.

      86.    After Pfizer acquired Warner-Lambert and Parke Davis for $91 billion

in 2000, Pfizer became bound to the 1993 Consent Decree. Pfizer consented to a

Remedial Action Plan that required Defendants to comply with Good Manufacturing

Processes required by FDA regulations for the manufacturing of Dilantin products.

      87.     On December 15, 2005 – twelve years after Defendants represented

they would resolve their quality control issues – Pfizer submitted a Supplemental



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New Drug Application 84-349/S-045 to the FDA seeking approval for a different

manufacturing process to manufacture Dilantin Kapseals (extended release sodium

phenytoin 100 mg) into a form of Dilantin called Dilantin Capsules. Through this

submission, Pfizer reformulated Dilantin 30 mg and 100 mg Kapseals without

disclosing the reformulation to U.S. consumers and healthcare providers. Pfizer,

however, did disclose the reformulation to consumers and prescribing physicians in

other countries, including in Canada, through Dear Healthcare Provider letters.

      88.    In doing so, Pfizer unilaterally altered the manufacturing process for

Dilantin Kapseals 100 mg into a different form of the drug (Dilantin Capsules) that

utilized phenytoin sodium. Pfizer subsequently filed an Amendment to SNDA 84-

349/S-045 notifying the FDA that the new manufacturing changes and

enhancements were developed primarily to address manufacturing concerns that

were the subject of the 1993 consent decree between the FDA and Warner-Lambert.

      89.    The FDA rejected the submission and the bioequivalence studies due

to the poor quality of both the data and submissions. Ultimately the submission was

approved by the FDA Office of Generic Drugs, Division of Bioequivalence on

August 7, 2006.

      90.    On October 15, 2007, Pfizer entered into an Amended Consent Decree

regarding the manufacturing deficiencies for Dilantin 30 mg and Dilantin 100 mg

capsules. In this Amended Consent Decree, Pfizer admitted that (even after 14



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years) it had not completed the certifications and remedial action plans that were the

subject the 1993 consent decree.

M.    Defendants Were Cited by the FDA for Failing to Review, Analyze, and
      Report Serious Adverse Drug Events

      91.    Section 505(k)(1) of the Federal Food, Drug, and Cosmetic Act [21

U.S.C. § 355(k)(1); see also 21 CFR 314.80 and 314.81] require Defendants to

establish and maintain records and to report data relating to clinical experience,

along with other data or information, for drugs for which an approved application is

in effect. Failure to comply with Section 505(k) is a prohibited act under Section

301(e) of the Act [21 U.S.C. § 331(e)].

      92.    Following a 2009 inspection, the FDA issued a warning letter to Pfizer

noting serious violations relating to Dilantin and other products, including the

following:

      •      Serious and unexpected ADE reports are not promptly investigated as

             required by 21 CFR 314.80(c)(1)(ii).

      •      Failure to submit 15-day Alert reports for serious adverse drug

             experiences as a non-applicant to the applicant within 5 calendar days

             of receipt as required by 21 CFR 314.80(c)(1)(iii).

      •      Failure to promptly review all adverse drug experience information

             obtained or otherwise received by the applicant from any source as

             required by 21 CFR 314.80(b).

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      93.    Defendants failed to promptly investigate, review and report to the FDA

ADE reports of cerebellar atrophy from Dilantin exposure.

N.    Defendants Have Known that Dilantin Causes Cerebellar Atrophy and
      Failed to Warn of the Risk

      94.    As noted above, Defendants are required to conduct adequate post

approval safety surveillance for all of their drugs, including Dilantin, by collecting

and evaluating aggregated safety data and scientific literature relating to the adverse

effects of their drugs. Defendants are required by law to analyze and determine

whether safety signals exist; to report those safety findings to the FDA; to

continuously revise or update their product labels; and to provide an identification

of the current risks associated with Dilantin in order to allow for the safe and

effective use of the product, including warning for the risk of cerebellar atrophy and

its related conditions.

      95.    Scientific studies and peer reviewed literature positively identify a

direct causal link and/or association between Dilantin and cerebellar atrophy which

Defendants knew or, at a minimum, should have known about, and should have but

did not disclose to the FDA and U.S. healthcare providers.

      96.    Defendants have had ample opportunity to change their label to provide

adequate warnings regarding cerebellar atrophy and sufficient instructions on the

safe use of Dilantin. Indeed, using SNDAs and CBEs, Defendants have changed the

Dilantin label numerous times to warn of other adverse reactions. During this same


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time frame, Defendants provided better warnings and more information on related

conditions in foreign countries, as evidenced by the labeling for Dilantin and

Epanutin products in other countries, including Australia, Canada and Japan. Pfizer

also distributes Patient Information Leaflets directly to Dilantin consumers in the

E.U. that refer to symptoms of cerebellar atrophy. Pfizer, however, does not provide

this information to U.S. patients.

      97.    Medication Guides presented another opportunity for Defendants to

warn of these risks. Medication Guides are patient labeling (21 CFR part 208) which

accompany drugs deemed by the FDA to have serious and significant risks.

Medication Guides address issues that are specific to particular drugs or drug classes.

They contain FDA-approved information that can help patients avoid serious

adverse reactions. Medication Guides are developed by manufacturers, reviewed by

the FDA, and are required to be distributed by pharmacies with each prescription.

Defendants should have developed a Medication Guide for Dilantin, independently,

to include specific warnings regarding cerebellar atrophy, ataxia and the associated

neurocognitive impairments. Dilantin’s Medication Guide does not warn about

cerebellar atrophy, ataxia and the associated neurocognitive impairments. Nor does

it warn about the risks associated with the duration of therapy (or chronic exposure)

or of the toxicological consequences to the brain and central nervous system from

cerebellar atrophy.



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      98.    Defendants should have (but did not) undertake safety surveillance

analyses to include a comprehensive analysis of the available scientific literature,

epidemiological studies or employ data mining techniques using various modalities

to assess the risks of prolonged therapy of Dilantin and cerebellar atrophy that has

been associated with their Dilantin products.

      99.    While Dilantin is the leading drug-induced cause of cerebellar atrophy,

other drug companies who market epilepsy drugs warn about the risk of cerebellar

atrophy. For example, AbbVie’s Depakote (another anti-epileptic drug) label warns

about the potential for cerebellar atrophy in the warnings section of its drug’s label.

Notably, AbbVie’s warning is based on case reports and, although Depakote rarely

causes cerebellar atrophy and almost all of the Depakote cases improve on

discontinuation of the drug, AbbVie has warned of this risk for years.

      100.   Defendants had and have a duty to collect, review, and disclose all

relevant scientific and safety information as well as to provide adequate directions

for the safe and effective use of Dilantin pursuant to 21 C.F.R. 314.80 and

314.81. Defendants also had and have a duty to provide adequate warnings and

directions for use pursuant to 21 C.F.R. 201.5, 201.56, 201.57, 208, and could have

revised their labeling over the last decades pursuant to 314.70, including adding new

warnings and improved direction for use to Plaintiff, his prescribing physicians, and

U.S. healthcare professionals with regard to the risk of permanent, irreversible



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cerebellar atrophy and related neurological injuries associated with Dilantin,

including irreversible neurotoxicity, dysarthria (speech impairment), cognitive

injuries and ataxia.

      101.    As a direct result of the wrongful acts and omissions listed above and

Defendants’ deficient and inadequate warnings, Plaintiff’s prescribing physicians

were deprived of the ability to fully assess the risks and make an informed decision

about prescribing Dilantin to Plaintiff. Had Plaintiff or his prescribing physicians

been made aware of the known risks and dangers associated with Dilantin or the

availability of safer alternatives, or had Defendants disclosed such information to

Plaintiff or his prescribing physicians, Plaintiff would not have taken Dilantin and

would not have suffered the permanent and life-altering injuries at issue.

                       Equitable Tolling of Statute of Limitations

      102.   Plaintiff incorporates by reference all prior paragraphs of this

Complaint as if fully set forth herein.

      103.   The running of the statute of limitations is tolled under Montana law by

reason of Defendants’ fraud and fraudulent concealment. Defendants, through their

affirmative misrepresentations and omissions, actively concealed from Plaintiff and

Plaintiff’s prescribing physicians the true risks associated with Dilantin. As a result

of Defendants’ actions, Plaintiff and Plaintiff’s prescribing and treating physicians

were unaware, and could not reasonably known or have learned through reasonable



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diligence, that Plaintiff had been exposed to the risks alleged herein and that the

neurological sequelae, including irreversible cerebellar atrophy, cerebellar ataxia,

cerebellar degeneration, dysarthria, and other cognitive injuries were the direct and

proximate result of Defendants’ acts and omissions.

      104.   Defendants are estopped from relying on any statute of limitations

because of their fraudulent concealment of the true risks of cerebellar atrophy,

cerebellar ataxia, cerebellar degeneration, dysarthria, cognitive injuries and related

sequelae associated with Dilantin. The risks identified herein involve non-public

information over which Defendants had and have exclusive control. Defendants

knew that this safety information was not available to Plaintiff and Plaintiff’s

prescribing physicians.     Because Defendants concealed the risks of cerebellar

atrophy, permanent cerebellar ataxia, cerebellar degeneration, dysarthria, cognitive

injuries and related sequelae associated with Dilantin products, Plaintiff and his

prescribing physicians were not aware of the risks and were unable to positively

conclude that Dilantin was the cause of Plaintiff’s injuries and damages until

recently, within the statute of limitations. Instead, Plaintiff was advised for years

that his injuries were caused by illnesses and diseases other than Dilantin.

Defendants’ misrepresentations of safety and efficacy included the false

representation that, if Plaintiff suffered acute episodes of Dilantin toxicity based on

high serum levels of Dilantin, his side effects would be reversible and entirely



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resolve if Plaintiff briefly stopped taking Dilantin and resumed Dilantin therapy at a

later date. Defendants are estopped from relying on any statute of limitations

because of their intentional concealment of these facts.

      105.    Plaintiff had no knowledge that Defendants were engaged in the

wrongdoing alleged herein. Because of Defendants’ fraudulent acts and

concealment, Plaintiff and his prescribing physicians could not have reasonably

discovered the wrongdoing at an earlier date. Further, the economics of the fraud

must be considered in context. Defendants had the ability to and did spend enormous

amounts of money in furtherance of their purpose of marketing, promoting and/or

distributing their blockbuster drug Dilantin, notwithstanding the known or

reasonably known risks. Plaintiff and his prescribing physicians could not have

afforded and could not have reasonably conducted studies to determine the nature,

extent and identity of the health risks at issue in this Complaint and, instead, were

required to and did rely on Defendants’ representations. Accordingly, Defendants

are precluded by the discovery rule, estoppel and/or the doctrine of fraudulent

concealment from relying upon any statute of limitations.

                           V.    CAUSES OF ACTION

                           FIRST CLAIM FOR RELIEF

             STRICT PRODUCT LIABILITY - FAILURE TO WARN




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      106.   Plaintiff incorporate by reference each and every paragraph of this

Complaint as though set forth in full in this cause of action.

      107.   Defendants manufactured, marketed, distributed and supplied Dilantin.

As such, Defendants had a duty to warn the public including Plaintiff and his

prescribing physicians of the health risks associated with using Dilantin.

      108.   Dilantin was under the exclusive control of Defendants and was sold

without adequate warnings regarding the risk of cerebellar atrophy and related

neurological sequelae, including ataxia and persistent loss of locomotion, including

in individuals with underlying balance disturbances and cognitive dysfunction.

      109.   As a direct and proximate result of the defective condition of Dilantin

and its label, as manufactured and/or supplied by Defendants, Plaintiff suffered

injury, harm, and economic loss as alleged herein.

      110.   Defendants knew of the defective nature of Dilantin but continued to

design, manufacture, market, and sell Dilantin in order to maximize sales and profits

at the expense of public health and safety. Defendants’ knowing, conscious, and

deliberate disregard of the foreseeable harm caused by Dilantin violated their duty

to provide accurate, adequate and complete warnings.

      111.   Defendants failed to warn the public, Plaintiff and Plaintiff’s

prescribing physicians of the dangerous propensities of Dilantin, which were known

or should have been known to Defendants, as they were scientifically readily



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available. Defendants failed to comply with FDA regulations governing prescription

labeling, including 21 C.F.R. 201.56, 201.57, 314.70, 314.80, 314.81 and 201.80.

Further, Defendants had the ability to request and obtain a patient Medication Guide

that could have provided adequate warnings of the risks referenced herein.

      112.   Defendants knew and intended that Dilantin would be prescribed by

physicians and would be used by persons. Defendants also knew that physicians and

users such as Plaintiff would rely upon the representations made by Defendants in

the Dilantin product labels and in Defendants’ promotional and sales materials, upon

which the Plaintiff’s prescribing physicians did so rely.

      113.   As a direct and proximate result of Defendants’ sale of Dilantin without

adequate warnings regarding the risk of cerebellar atrophy and related sequelae,

Plaintiff suffered injury and harm as alleged herein.

      114.   Defendants’ conduct in the packaging, warning, marketing, advertising,

promotion, distribution and sale of Dilantin was committed with knowing,

conscious, and deliberate disregard for the rights and safety of consumers such as

Plaintiff, thereby entitling Plaintiff to punitive damages in an amount to be

determined at trial that is appropriate to punish Defendants and deter them from

similar conduct in the future.




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                         SECOND CLAIM FOR RELIEF

          STRICT PRODUCT LIABILITY – DEFECTIVE DESIGN

      115.   Plaintiff incorporate by reference each and every paragraph of this

Complaint as though set forth in full in this cause of action.

      116.   Defendants were the manufacturers, labelers, sellers, distributors,

marketers, and/or suppliers of Dilantin, which was defective and unreasonably

dangerous to consumers.

      117.   Defendants’ product was labeled, sold, distributed, supplied,

manufactured, marketed, and/or promoted by Defendants, and was expected to reach

and did reach consumers without substantial change in the condition in which it was

manufactured and sold by Defendants.

      118.   The Dilantin manufactured, labeled, supplied, and/or sold by

Defendants was defective in design or formulation in that when it left the hands of

the manufacturers and/or sellers it was unreasonably dangerous and its foreseeable

risks exceeded the benefits associated with its design or formulation.         The

foreseeable risks of Dilantin exceeded the benefits associated with the designs or

formulations of the product.

      119.   Upon information and belief, Defendants knew of the defective nature

of Dilantin but continued to design, manufacture, market, and sell it so as to

maximize sales and profits at the expense of public health and safety.



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          120.     There were safer alternative methods and designs for the manufacture

of Dilantin products. For example, Defendants failed to design Dilantin products to

meet their own formula and manufacturing specifications for good manufacturing

processes; Defendants failed to certify and remediate the deficient manufacture and

production of approved Dilantin products; and Defendants could have substituted a

safer alternative design without having to submit another new drug application. In

fact, Defendants have changed the chemical composition of Dilantin in the past

without first seeking FDA approval. 7 For example, Defendants developed, tested

and obtained approval in 1996 for another anti-epileptic drug (Cerebyx) which is

chemically similar to Dilantin and does not carry the same risk of cerebellar atrophy.

Further, Defendants have designed and manufactured phenytoin with an acid base

used in certain forms of Dilantin products. Studies have shown that using phenytoin

acid carries a lower risk of cerebellar injuries than its phenytoin sodium

counterparts.8 At all times material, Defendants have known of this available safer

alternative design, which was economically feasible for Defendants to utilize.

          121.     At all times material, Dilantin was designed, tested, inspected,

manufactured, assembled, developed, labeled, licensed, marketed, advertised,

promoted, packaged, supplied and/or distributed by Defendants in a defective and




7
    See Manufacturing Defect claim and the Pfizer/Warner-Lambert Amended Consent Decree referenced below.
8
    Dilantin Kapseals are extended phenytoin sodium.


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unreasonably dangerous condition in ways which include, but are not limited to, one

or more of the following:

       a.      When placed in the stream of commerce, the drug contained

unreasonably dangerous design defects and was not reasonably safe and fit for its

intended or reasonably foreseeable purpose or as intended to be used, thereby

subjecting users and/or consumers of the drug, including Plaintiff, to risks which

exceeded the benefits of the drug;

       b.      The drug was insufficiently tested;

       c.      The drug caused harmful side effects that outweighed any potential

utility; and

       d.      The drug was not accompanied by adequate labeling, instructions for

use and/or earnings to fully apprise the medical, pharmaceutical and/or scientific

communities, and users and/or consumers of the drug, including Plaintiff, of the

potential risks and serious side effects associated with its use.

       122.    In light of the potential and actual risk of harm associated with the

drug’s use, a reasonable person who had actual knowledge of this potential and

actual risk of harm would have concluded that Dilantin should not have been

marketed in that condition.

       123.    At all times material, Dilantin was expected to reach, and did reach,

users and/or consumers across the United States, including Plaintiff, without



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substantial change in the defective and unreasonably dangerous condition in which

it was sold.

      124.      Plaintiff used Dilantin for its intended or reasonably foreseeable

purpose.       As a direct, proximate and producing result of the defective and

unreasonably dangerous condition of Dilantin, Plaintiff sustained harm for which

Plaintiff are entitled to damages.

      125.      Defendants’ aforementioned conduct was committed with knowing,

conscious, and deliberate disregard for the rights and safety of consumers such as

Plaintiff and entitles Plaintiff to punitive damages in an amount to be determined at

trial that are appropriate to punish Defendants and deter them from similar conduct

in the future.

                           THIRD CLAIM FOR RELIEF

      FRAUD, FRAUDULENT CONCEALMENT AND INTENTIONAL
                    MISREPRESENTATION

      126.      Plaintiff incorporate by reference each and every paragraph of this

Complaint as though set forth in full in this cause of action.

      127.      At all material times, Defendants were engaged in the business of

manufacturing, labeling, testing, marketing, distributing, promoting and selling

Dilantin.

      128.      Defendants made misrepresentations of material facts to and omitted

and/or concealed material facts from Plaintiff and Plaintiff’s prescribing physicians

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in the advertising, marketing, distribution and sale of Dilantin regarding its safety

and use.

       129.   Defendants deliberately and intentionally misrepresented to and

omitted and/or concealed material facts from consumers, including Plaintiff and his

prescribing physicians, that Dilantin was safe when used as intended.             Such

misrepresentations, omissions, and concealments of facts include, but are not limited

to:

       •      Failing to disclose, and/or intentionally concealing, the results of tests

              reflecting the risks of cerebellar atrophy and other neurological injuries

              associated with the use of Dilantin;

       •      Failing to include adequate warnings about the potential and actual

              risks of cerebellar atrophy, permanent cerebellar ataxia, speech

              impairments, cognitive deficits and the nature, scope, severity, and

              duration of these serious adverse effects;

       •      Concealing the known incidents of cerebellar atrophy and cognitive

              deficits;

       •      Engaging in fraudulent and misleading promotional and marketing

              activities, including placing advertisements in medical journals,

              technical booths at the ILAE and AAN conferences, CME or satellite

              symposiums, and scientific meetings;


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      •      Fraudulently promoting and marketing Dilantin alongside Neurontin;

      •      From 1993 through the present, Defendants engaged in a systematic

             failure to ensure that Dilantin products were made in compliance with

             Current Good Manufacturing Practices (CGMP) and ensure that

             Dilantin was manufactured pursuant to proper and adequate

             specifications and formulations;

      •      From the 1960’s through the present, Defendants partnered with

             nonprofit organizations, including the American Epilepsy Society and

             American Foundation for Epilepsy, for the improper purpose of

             increasing sales of Dilantin without disclosing to consumers the extent

             of Defendants’ involvement with the nonprofit organizations or the

             risks associated with the drug;

      •      Defendants knowingly concealed the results of Dr. Manfred Hauben

             and Dr. Andrew Bates’ safety signal analysis from Plaintiff and his

             prescribing physicians;

      •      Defendants intentionally misrepresented to, and omitted and/or

             concealed material facts from, at-risk populations, including Plaintiff

             and his respective prescribing physicians, with regard to the increased

             risk of cerebellar atrophy;




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      •      Defendants have not disclosed to prescribing physicians that they never

             conducted adequate randomized controlled trials or safety studies to

             prove chronic Dilantin therapy was safe;

      •      Defendants chose to warn consumers and prescribing physicians in

             foreign countries regarding the risk of cerebellar atrophy from Dilantin,

             yet chose not to warn U.S. patients and healthcare providers, including

             Plaintiff’s prescribing physicians;

      •      Defendants failed to disclose to Plaintiff and his prescribing physicians

             that Dilantin lacks efficacy and its risks outweigh the benefits of the

             drug;

      •      Defendants failed to disclose to Plaintiff and his prescribing physicians

             that safer alternative anti-epileptic drugs exist that do not carry a risk of

             cerebellar atrophy;

      •      Defendants failed to disclose that patients can be screened and

             genetically phenotyped prior to being prescribed to Dilantin in order to

             screen for CYP2C9*2 or *3 variants and avoid increased risks of

             cerebellar atrophy from impaired pharmacokinetics;

      •      That irreversible cerebellar degeneration and atrophy can begin as soon

             as Dilantin is taken, within days or weeks of therapy, and over short or

             long periods of time;


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      •      Recommended doses can lead to toxic levels of serum concentrations

             that contribute to cerebellar atrophy, ataxia, loss of locomotion, and

             other neurological impairments;

      •      One time exposure to Dilantin can cause permanent and irreversible

             cerebellar damage;

      •      Case-control studies showed a greater risk, incidence and causative

             findings of moderate to severe cerebellar atrophy associated with long-

             term Dilantin therapy;

      •      That the use of Therapeutic Monitoring (TDP) using free phenytoin and

             therapeutic levels of Dilantin should be used to closely monitor patients

             weekly to bi-monthly along with frequent neurological examinations;

      •      That several scientific groups have recommended that Dilantin not be

             used as a 1st or 2nd line agent and recommended restricting its use in at-

             risk populations (pregnant women, newborns, children, mentally

             disabled, elderly) due to risks of cerebellar atrophy and adverse

             neurological sequelae and due to lack of efficacy.

      130.   Defendants intentionally concealed facts known to them, as alleged

herein, in order to ensure increased sales of Dilantin, including concealing facts from

Plaintiff and his prescribing physicians.




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      131.   Defendants had a duty to disclose the foregoing risks and failed to do

so despite possession of material information concerning those risks. Defendants’

representations that Dilantin was safe for its intended purpose were false as Dilantin

was, in fact, dangerous to Plaintiff’s health. Moreover, Defendants knew that their

statements were false, knew of numerous incidents of cerebellar atrophy, deaths,

permanent cerebellar ataxia, speech impairments and cognitive deficits, and knew

that their omissions rendered their statements and product label false or misleading.

      132.   Further, Defendants failed to exercise reasonable care in ascertaining

the accuracy of the safety information regarding the use of Dilantin and failed to

disclose to prescribing physicians and patients that Dilantin caused cerebellar

atrophy, deaths, permanent ataxia, and cognitive deficits, among other serious

neurological adverse effects. Defendants also failed to exercise reasonable care in

communicating safety information concerning Dilantin to Plaintiff’s prescribing

physicians and Plaintiff and/or concealed facts that were known to Defendants from

Plaintiff’s prescribing physicians and treating physicians.

      133.   Plaintiff’s prescribing and treating physicians were not aware of the

falsity of the foregoing representations, nor were Plaintiff’s prescribing physicians

or treating physicians aware that material facts concerning the safety of Dilantin had

been concealed or omitted by Defendants. The misrepresentations were made on

the dates of the communications, labeling and marketing records identified in the



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Complaint, and include Defendants’ failure to disclose the essential scientific

information for the safe use of Dilantin.

      134.   In reliance upon Defendants’ misrepresentations and the absence of

disclosure of the serious health risks identified above, on the dates that Plaintiff’s

prescriptions for Dilantin were written, Plaintiff’s prescribing physicians relied on

Defendants’ misrepresentations and prescribed Dilantin to Plaintiff. Further, for the

purpose of assessing the risks and benefits of prescribing Dilantin products to

Plaintiff for Plaintiff’s seizure disorder, Plaintiff’s prescribing physicians relied on

their respective education, training and experience; the Physician Desk Reference

and product label for branded Dilantin products; Defendant-sponsored medical and

pharmaceutical websites; continuing medical education conferences where Dilantin

was discussed; Defendants’ sponsored medical literature on Dilantin; discussions

with sales representatives for Defendants at the time Defendants’ sales

representatives visited their offices to sell Dilantin; Dear Healthcare Professional

(DHCP) letters and written materials provided by Defendants regarding Dilantin,

among other documents and communications.

      135.   Plaintiff’s prescribing physicians relied on Defendants to fairly and

accurately disclose the risk and safety information regarding the risks of cerebellar

atrophy and related neurological sequelae. The prescribing physicians were not

aware of the falsity of the misleading safety information above (including the



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information identified in Paragraph 125), on which Plaintiff’s prescribing physicians

relied at the time they prescribed Dilantin to Plaintiff.

      136.   Plaintiff’s prescribing physicians have the option to prescribe a large

volume of anti-epileptic medications to their respective patients. It is impractical to

place the burden on or expect every physician to manage a medical practice,

effectively treat their patients, and review all of the available safety literature

regarding every drug that may be applicable to their practice. These obvious

impracticalities are, in part, why federal regulations place the burden on drug

companies like Defendants to disclose all material safety information regarding the

safe and effective use of their drugs. It is Plaintiff’s prescribing physician’s medical

practice to rely on safety information provided by drug companies like Defendants,

including but not limited to prescribing information disseminated in labeling,

Medication Guides, DHCP letters, sales literature, symposiums and medical

conferences. Plaintiff’s prescribing physicians were exposed to, reviewed and relied

upon the safety information referenced above when they analyzed the safest and

most effective AED for Plaintiff. Had Plaintiff or his prescribing physicians known

of the true risks of severe, irreversible neurotoxicity, including death, cerebellar

atrophy, permanent ataxia, dysarthria, cognitive impairments and related

neurological sequelae, Plaintiff would not have been prescribed Dilantin or taken the

drug. Instead, Plaintiff’s prescribing physicians would have prescribed a different



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AED with no or far less risk of these neurotoxic sequelae, including cerebellar

atrophy and related neurological injuries.

      137.   The reliance by Plaintiff and his prescribing physicians upon

Defendants’ misrepresentations was justified because said misrepresentations and

omissions were made by individuals and entities that were in a position to know the

true facts concerning Dilantin. Plaintiff and Plaintiff’s prescribing physicians were

not in a position to know the true facts because Defendants aggressively promoted

the use of Dilantin and concealed the risks associated with its use, thereby inducing

Plaintiff and his prescribing physicians to use and prescribe Dilantin.

      138.   As a direct and proximate result of Defendants’ misrepresentations

and/or concealment, Plaintiff suffered conscious pain and suffering, and suffered

injury and harm as previously alleged herein.

      139.   Defendants’ conduct in concealing material facts and making the

foregoing misrepresentations, as alleged herein, was committed with conscious or

reckless disregard of the rights and safety of consumers such as Plaintiff, thereby

entitling Plaintiff to punitive damages in an amount to be determined at trial that is

appropriate to punish Defendants and deter them from similar conduct in the future.

Plaintiff are not alleging any cause of action of fraud on the FDA.

                         FOURTH CLAIM FOR RELIEF

                      BREACH OF IMPLIED WARRANTY



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      140.   Plaintiff incorporate by reference each and every paragraph of this

Complaint as though set forth in full in this cause of action.

      141.   Defendants manufactured, marketed, sold, and distributed Dilantin.

      142.   At the time Defendants marketed, sold and distributed Dilantin for use

by Plaintiff, Defendants knew of the purpose for which Dilantin was intended and

impliedly warranted Dilantin to be of merchantable quality, safe and fit for such use.

      143.   Plaintiff’s prescribing physicians reasonably relied on the skill,

superior knowledge, and judgment of Defendants as to whether Dilantin was of

merchantable quality, safe and fit for its intended use.

      144.   Plaintiff used Dilantin which was made available to Plaintiff’s

prescribing physicians by the Defendants. Due to Defendants’ wrongful conduct as

alleged herein, Plaintiff could not have known about the risks and side effects

associated with Dilantin until after Plaintiff ingested it.

      145.   Contrary to such implied warranty, Dilantin was not of merchantable

quality and was not safe or fit for its intended use.

      146.   As a direct and proximate result of Defendants’ breach of implied

warranty, Plaintiff suffered conscious pain and suffering, injury and harm as

previously alleged herein.

      147.   Defendants’ aforementioned conduct was committed with knowing,

conscious, and deliberate disregard for the rights and safety of consumers such as



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Plaintiff, thereby entitling Plaintiff to punitive damages in an amount to be

determined at trial that is appropriate to punish Defendants and deter them from

similar conduct in the future.

                           FIFTH CLAIM FOR RELIEF

                     BREACH OF EXPRESS WARRANTY

      148.   Plaintiff incorporate by reference each and every paragraph of this

complaint as though set forth in full in this cause of action.

      149.   Defendants expressly warranted that Dilantin was safe and well

accepted by consumers and was safe for long-term use. Specifically, Defendants

represented to healthcare professionals and the public, including Plaintiff, that

Dilantin was a safe and effective seizure management product and that it could be

safely and appropriately used by all populations.           Additionally, Defendants

aggressively marketed Dilantin to the public and healthcare professionals, including

Plaintiff, for use in all populations for the long-term prevention of seizures.

Defendants have sponsored considerable television, print and internet advertising

initiatives that falsely over-promoted the benefits, and understated the risks, of

Dilantin including directly to Plaintiff. Had Defendants included the critical safety

information referenced above in their advertising and promotional campaigns,

Plaintiff would not have used or been prescribed Dilantin. Moreover, Plaintiff allege

that the Dilantin label itself is an express warranty regarding the safe and effective



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nature of the drug; that in addition to the advertisements referenced above, Plaintiff’s

prescribing physician relied on the label with respect to the administration of

Dilantin to Plaintiff.

      150.   Dilantin does not conform to these express representations because it is

not “safe” as represented by Defendants for the reasons stated above, including but

not limited to “safe” for use by individuals such as Plaintiff.

      151.   Plaintiff was not aware of the falsity of the foregoing representations,

nor were Plaintiff aware that material facts concerning the safety of Dilantin had

been concealed or omitted. In reliance upon Defendants’ warranties that Dilantin

was safe for use by the public (and the absence of disclosure of the serious health

risks), Plaintiff was prescribed Dilantin.      Had Plaintiff known the true facts

concerning the risks associated with Dilantin, Plaintiff would not have purchased or

Plaintiff would not have taken it and would not have been injured. By virtue of their

wrongful conduct described herein, Defendants breached their express warranties to

Plaintiff. As a direct and proximate result, Plaintiff suffered the actual damages

described herein.

                          SIXTH CLAIM FOR RELIEF

        NEGLIGENCE AND NEGLIGENT MISREPRESENTATION

      152.   Plaintiff incorporate by reference each and every paragraph of this

Complaint as though set forth in full in this cause of action.



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      153.     Defendants owed a duty to prescribers and consumers of Dilantin,

including Plaintiff, to use reasonable care in designing, testing, labeling,

manufacturing, marketing, supplying, distributing and selling Dilantin, including a

duty to ensure that Dilantin did not cause users to suffer from unreasonable,

unknown, and/or dangerous side effects.

      154.     Defendants failed to exercise reasonable care in the warning about,

designing, testing, labeling, manufacture, marketing, and/or distributing Dilantin

and breached their duties to Plaintiff in that they did not warn of the known risks

associated with the use of Dilantin and did not exercise an acceptable standard of

care. Moreover, the product lacked sufficient warnings of the hazards and dangers

to users of said product and failed to provide safeguards to prevent the injuries

sustained by Plaintiff. Defendants failed to properly test Dilantin prior to its sale

and, as a result, subjected users to an unreasonable risk of injury when those products

were used as directed and recommended.

      155.     Defendants additionally breached their duty and were negligent in their

actions, misrepresentations, and omissions toward Plaintiff in the following ways:

       a. Failed to exercise due care in designing, developing, and manufacturing

             Dilantin so as to avoid the aforementioned risks to individuals using these

             products;




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       b. Failed to include adequate warnings with Dilantin that would alert

             Plaintiff, his prescribing physician and other consumers to its potential

             risks and serious side effects;

       c. Failed to adequately and properly test Dilantin before placing it on the

             market;

       d. Failed to conduct sufficient testing on Dilantin, which if properly

             performed, would have shown that Dilantin had serious side effects,

             including, but not limited to, cerebellar atrophy and cognitive deficits;

       e. Failed to adequately warn Plaintiff and his prescribing physicians that use

             of Dilantin carried a risk of cerebellar atrophy, cognitive deficits and other

             serious side effects;

       f. Failed to provide adequate post-marketing warnings or instructions after

             Defendants knew, or should have known, of the significant risks of

             cerebellar atrophy and cognitive deficits from the use of Dilantin;

       g. Placed an unsafe product into the stream of commerce; and

       h. Were otherwise careless or negligent.

      156.     Defendants knew, or should have known, that Dilantin caused

unreasonably dangerous risks and serious side effects of which Plaintiff would not

be aware. Defendants nevertheless advertised, marketed, sold and/or distributed

Dilantin knowing of its unreasonable risks of injury.



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      157.   Defendants knew or should have known that consumers such as

Plaintiff would suffer injury as a result of Defendants’ failure to exercise reasonable

care as described above.

      158.   Upon information and belief, Defendants knew or should have known

of the defective nature of Dilantin, as set forth herein, but continued to design,

manufacture, market, and sell Dilantin so as to maximize sales and profits at the

expense of the health and safety of the public, including Plaintiff, in conscious and/or

negligent disregard of the foreseeable harm caused by Dilantin.

      159.   Defendants failed to disclose to Plaintiff and the general public facts

known or available to them, as alleged herein, in order to ensure continued and

increased sales of Dilantin. This failure to disclose deprived Plaintiff of the

information necessary for Plaintiff and his prescribing physicians to weigh the true

risks of taking Dilantin against the benefits.

      160.   As a direct and proximate result of Plaintiff’s use of Dilantin, Plaintiff

suffered serious bodily injury, including but not limited to, cerebellar atrophy

cognitive deficits.

      161.   By virtue of Defendants’ negligence, Defendants have directly,

foreseeable and proximately caused Plaintiff to suffer serious bodily injury and other

losses. As a result, the imposition of punitive damages against Defendants is

warranted.



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                          SEVENTH CLAIM FOR RELIEF

                                 GROSS NEGLIGENCE

      162.   Plaintiff incorporate by reference each and every paragraph of this

Complaint as though set forth in full in this cause of action.

      163.   Defendants had a duty to exercise reasonable care in the warning about,

design, testing, manufacture, marketing, labeling, sale, and/or distribution of

Dilantin, including a duty to

      ensure that Dilantin did not cause users to suffer from unreasonable and

dangerous side effects.

      164.   Defendants failed to exercise reasonable care in the warning about,

design, testing, manufacture, marketing, labeling, sale, and/or distribution of

Dilantin, in that Defendants knew or should have known that taking Dilantin caused

unreasonable and life-threatening injuries.

      165.   Defendants are grossly negligent in the warning about, design, testing,

manufacture, marketing, labeling, sale, and/or distribution of Dilantin.

      166.   Although Defendants knew, or recklessly disregarded, the fact that

Dilantin caused potentially lethal side effects, Defendants continued to market

Defendants’ product Dilantin to consumers, including Plaintiff, without disclosing

these side effects.




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      167.   Defendants knew and/or consciously or recklessly disregarded the fact

that consumers such as Plaintiff would suffer injury as a result of Defendants’ failure

to exercise reasonable care as described above.

      168.   Defendants knew of, or recklessly disregarded the defective nature of

Dilantin, as set forth herein, but continued to design, manufacture, market, and sell

Dilantin so as to maximize sales and profits at the expense of the health and safety

of the public, including Plaintiff, in conscious and/or reckless disregard of the

foreseeable harm caused by Dilantin.

      169.   As a direct and proximate result of the gross negligence, willful and

wanton misconduct, or other wrongdoing and actions of Defendants described

herein, which constitute a deliberate act or omission with knowledge of a high degree

probability of harm and reckless indifference to the consequences, Plaintiff suffered

conscious pain and suffering, and suffered injury and harm as previously alleged

herein.

      170.   As a direct and proximate result of the gross negligence, willful and

wanton misconduct, and other wrongdoing and actions of Defendants, which

constitute a deliberate act or omission with knowledge of a high degree probability

of harm and reckless indifference to the consequences, Plaintiff was injured.

      171.   Defendants’ aforementioned conduct was committed with knowing,

conscious, and/or deliberate disregard for the rights and safety of consumers such as



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Plaintiff, thereby entitling Plaintiff to punitive damages in an amount appropriate to

punish Defendants and deter them from similar conduct in the future.

                             EIGHTH CLAIM FOR RELIEF

       ALTER EGO, CORPORATE LIABILITY AND CIVIL CONSPIRACY

       172.   Plaintiff incorporate by reference each and every paragraph of this

complaint as though set forth in full in this cause of action.

       173.   At all times material, each of the Defendants was the agent, servant,

partner, aider and abettor, co-conspirator and/or joint venturer of each of the other

Defendants herein and were at all times operating and acting within the purpose and

scope of said agency, service, employment, partnership, conspiracy and/or joint

venture and rendered substantial assistance and encouragement to the other

Defendants, knowing that their conduct constituted a breach of duty owed to

Plaintiff.

       174.   Defendants entered into a civil conspiracy and agreements whereby

they created an atmosphere of misrepresentations and deceit which allowed

Defendants to sell Dilantin without adequate warnings to prescribing physicians and

patients.

       175.   There exists and, at all times herein mentioned, there existed a unity of

interest in ownership between Defendants such that any individuality and

separateness between Defendants has ceased and these Defendants are alter ego of



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each other and exerted control over each other. Adherence to the fiction of separate

existence of Defendants as an entity distinct from other certain Defendants will

permit an abuse of the corporate privilege and would sanction a fraud and would

promote injustice.

      176.   Defendants were engaged in the business of, or were successors in

interest to entities engaged in the business of researching, designing, formulating,

compounding,      testing,    manufacturing,   producing,    processing,   assembling,

inspecting, distributing, marketing, labeling, promoting, packaging, prescribing

and/or advertising for sale, and selling Dilantin for the use and ingestion by Plaintiff

and other users. As such, each Defendant is individually as well as jointly and

severally liable to the Plaintiff for Plaintiff’s damages.

      177.   At all times herein mentioned, the officers and/or directors of the

Defendants participated in, authorized and/or directed the production and promotion

of the aforementioned products when they knew or, with the exercise of reasonable

care and diligence, should have known of the hazards and dangerous propensities of

Dilantin and thereby actively participated in the tortious conduct which resulted in

the injuries suffered by Plaintiff.

                             VII.     PRAYER FOR RELIEF

      Plaintiff respectfully requests the following relief against all Defendants:




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      a.     Awarding all actual, compensatory and punitive damages to Plaintiff in

amount to be determined at trial;

      b.     Awarding pre-judgment and post-judgment interest to Plaintiff;

      c.     Awarding the costs and expenses of litigation to Plaintiff;

      d.     Awarding reasonable attorneys’ fees to Plaintiff; and

      e.     Such further relief as this Court deems necessary, proper and just.

                          DEMAND FOR JURY TRIAL

      Plaintiff demands a trial by jury on all issues so triable in this civil

action. Dated this 13th day of October, 2020.

                                                HEENAN & COOK, PLLC


                                                /s/ John Heenan________________
                                                Attorney for Plaintiff




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